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                           IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW MEXICO
Christians in the Workplace Networking
Group, Plaintiff                              : Civil Action: 1:22-cv-00267-DHU-DLM
      v.
National Technology and Engineering Solutions
of Sandia, LLC, et al, Defendants

  REPLY to Response to MOTION FOR ORAL ARGUMENT ON PLAINTIFF’S MOTION FOR
SUMMARY JUDGMENT And PROVISION OF CASE LAW ON STATE ACTION REQUESTED BY
                                   THE COURT

                                            MOOTNESS
The motion is not moot. The court reserved judgment on the Motion for Leave to File Second Amended

Complaint (Doc. 180). The Religious Freedom Restoration Claim is a live claim. Under that claim,

whether Sandia is a state actor is a live issue and the court in its discretion may grant injunctive relief

sought in its motion for summary judgment. The oral argument sought will benefit the court.


                              REQUEST FOR RECONSIDERATION
 No motion for reconsideration was filed as to the August 18, 2023 order nor has reconsideration been

sought. It may be after the court issues a written opinion which explains any rulings.

                                   MOTION FOR LEAVE TO AMEND
       Sandia states the basis for amendment was available at the inception of the suit. This is not the

standard under the law and never was. Hamric v. Wilderness Expeditions, 6 F. 4th 1108 (10th Cir.

2021)held that as to timeliness, Rule 16(b) and 15(a) FRCP apply. Id, 1118. The 10 th Circuit stated:

    Foman v. Davis, 371 U.S. 178, 182 (1962) held:Rule 15(a) declares that leave to amend shall be
freely given where justice so requires….if the underlying facts or circumstances relied upon by a
Plaintiff may be a proper subject of relief, he ought to be given an opportunity to test his claim on the r
merits. In the absence of any apparent or declared reason--such as undue delay, bad faith or dilatory
motive on the part of the movant, repeated failures to cure deficiencies by amendments previously
allowed, undue prejudice to the opposing party by virtue of the allowance of amendment, futility of
amendment, the leave should be…freely given. . Where amendment merely states an alternative theory
of recovery, it should be granted. The FRCP reject the approach that pleading is a game of skill and one
misstep of counsel may be decisive to the outcome and accept the principal that the purpose of pleading
is to facilitate a proper decision on the merits. Denial of leave is reversed. Id, 181-182.




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   Defendant has not met its burden to prove why leave should not be freely given. Defendant has the

burden and cannot show undue delay, bad faith or dilatory motive, repeated failure to cure deficiencies,

undue prejudice to Sandia or futility of amendment and makes no arguments to support these.

         THE COURT HAS NOT GRANTED SUMMARY JUDGMENT ON ALL CLAIMS
A case becomes moot when the issues presented are no longer live. Smith v. Becerra, 44 F. 4th 1238,

1247 (10th Cir. 2022). The RFRA claim is still live. The deadline for Defendants to respond to

Plaintiff’s Motion for Summary Judgment was August 31, 2023. They filed no response. The

undisputed facts contained in the motion are admitted as Defendants failed to specifically controvert

any fact. Rule 56.1(b). Local Rules (Civil), D. of N.M.. The facts needed to establish Plaintiff’s claims,

including the RFRA claim, are the same. The amendment adds no new facts.

                    CASE LAW shows DEFENDANTS can be sued under §1983.
   Footnote 7 in DeVargas v. Mason & Hanger-Silas Mason Co, Inc, Los Alamos National

Laboratories, et al, 844 F. 2nd 714 (10th Cir. 1988)states:

    At oral argument we expressed some concern whether the defendants were federal or state actors
for purposes of a § 1983 or Bivens claim. See Rendell-Baker v. Kohn, 457 U.S. 830, 102 S.Ct. 2764, 73
L.Ed.2d 418 (1982); Jackson v. Metropolitan Edison Co., 419 U.S. 345, 95 S.Ct. 449, 42 L.Ed.2d
477 (1974); Vincent v. Trend Western Technical Corp., 828 F.2d 563, 567-68 (9th Cir. 1987); Milonas v.
Williams, 691 F.2d 931, 939-40 (10th Cir. 1982). The defendants do not dispute in this appeal the
district court's finding that they were state actors for purposes of the § 1983 claim and federal actors for
the Bivens claim. We therefore do not discuss that issue.
    Los Alamos National Laboratories was found by the lower court to be a state actor for the purpose

of a §1983 or Bivens claim. This is on-point authority that Sandia is also a a state actor for the purpose

of a §1983 or Bivens claim. While the 10th Circuit did not affirm in its ruling that Los Alamos was a

state actor, it did not reverse a ruling by the lower court that it was.

   Defendants state that Doe v. Lawrence Livermore Laboratory, 65 F. 3rd 771 (9th Cir. 1995) is

inapplicable because at the time Lawrence Livermore National Laboratory was owned by the state of

California. But even if it was this does not make any difference. There its employee was found to be a

state actor. Id, 772. Here there are 3 employee Defendants and are also state actors under Doe.


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Nuckolls, acting as director of a university-managed laboratory, is a person who is fully liable under

§1983. id, 776.

     “PERSONS” LIABLE UNDER §1983 NEED NOT HAVE ACTED AS A STATE OFFICIALS

Defendants state that the entirely of the analysis of the status of Nichols as a state actor “rests on the

University of California’s liability as a state entity and the Eleventh Amendment.” This contradicts

what that court found in a later decision in the same case. Doe v. Lawrence Livermore Laboratory, 131

F.3d 836 (9th Cir. 1997) found

We REVERSE the dismissal of the § 1983 claim against Nuckolls in his official capacity because Doe's
request for reinstatement constitutes prospective injunctive relief…Doe is a mathematical physicist
with a Ph.D. from Harvard University. The Laboratory is operated by the University pursuant to a
contract with the United States Department of Energy ("Department"). ..His complaint states a claim
against Nichols under § 1983 claim against Nuckolls in his official capacity…In our opinion filed
September 11, 1995, we reversed the district court's dismissal of the breach of contract claim. See Doe
v. Regents of the Univ. of Calif. et al., 65 F.3d 771 (9th Cir. 1995). We held that the University, as
manager for the Laboratory, was not entitled to Eleventh Amendment immunity since the Department
of Energy, and not the State of California, would be ultimately liable for any judgment rendered against
the University in performance of its contract with the Department. Because we found that the
University was not an arm of the State in this instance, we concluded that Director Nuckolls had not
acted as a "state official," but a "person" fully liable under § 1983….In Will v. Michigan Dep't of State
Police, the Supreme Court held that "States or governmental entities that are considered `arms of the
State' for Eleventh Amendment purposes" are not "persons" under § 1983. Will, 491 U.S. 58,
70 (1989). Moreover, Will clarified that a suit against a state official in his official capacity is no
different from a suit against the State itself. Id. at 71. Therefore, state officials sued in their official
capacities are not "persons" within the meaning of § 1983. However, there is one exception to this
general rule: When sued for prospective injunctive relief, a state official in his official capacity is
considered a "person" for § 1983 purposes. Id. at 71 n. 10…Doe argues that he requests prospective
injunctive relief. Specifically, he requests an injunction requiring Nuckolls to reinstate Doe as a
physicist at the Laboratory. In the alternative, Doe requests an injunction requiring Nuckolls to
reconsider Doe's employment application without reference to his eligibility for security
clearance….this court has found in a prior employment case that reinstatement constitutes prospective
injunctive relief…Therefore, we reverse the district court's dismissal of Doe's § 1983 claim against
Nuckolls in his official capacity.
   Id, 837-842. Both the Lawrence Livermore Laboratory and Sandia National Laboratory are

operated by a contract with the Department of Energy. The Department of Energy in both cases will be

responsible for the payment of any judgment. The court held that since the laboratory was not an arm

of the state, Nuckolls had acted not as state official but as a “person” fully liable under §1983.


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Injunctive relief was available. Plaintiff seeks prospective injunctive relief against Defendants

including individual Defendants to be restated as an Employee Resource group. This relief can be

granted under the Religious Freedom Restoration Act to an unincorporated association based on the

undisputed facts in Plaintiff's Motion for Summary Judgment.

Date: September 22, 2023         s/J. Michael Considine, Jr., P.C.
                                 By: J. Michael Considine, Jr.
                                 1845 Walnut Street, Suite 1199
                                 Philadelphia, PA 19103
                                 564-4000
                                 a dventure7@gmail.com
                                 Counsel for Plaintiff

                       CERTIFICATE OF SERVICE
I, J. Michael Considine, Jr., hereby certify that I filed electronically the Reply to Response to MOTION
      FOR ORAL ARGUMENT ON PLAINTIFF’s MOTION FOR SUMMARY JUDGMENT and
 PROVISION OF CASE LAW ON STATE ACTION REQUESTED BY THE COURT and by doing so
transmitted it to counsel of record Charles J. Vigil. Melissa Kountz and Samantha M. Hults, Rodey,
 Dickason, Sloan, Akin & Robb, P.A., 201 3rd Street, NW, Suite 2200, Albuquerque, NM 87102 and
 Aaron C. Viets, Sandia National Laboratories. P.O. Box 5800, MS 0141, Albuquerque, NM 87185
                                       on the date indicated below:

Date: September 22, 2023                   s/ J. Michael Considine, Jr.




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